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                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

                   Plaintiff,

       v.                                  CRIMINAL NO. 1:14CR89-11
                                                (Judge Keeley)


 TERRI SHUTTLESWORTH,

                   Defendant.

           ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
          OPINION/REPORT RECOMMENDATION CONCERNING PLEA OF
       GUILTY IN FELONY CASE AND SCHEDULING SENTENCING HEARING

       On    February    25,    2015,   defendant,    Terri    Shuttlesworth

 (“Shuttlesworth”), appeared before United States Magistrate Judge

 John S. Kaull and moved for permission to enter a plea of GUILTY to

 Count Twenty-Five of the Indictment. Shuttlesworth stated that she

 understood that the magistrate judge is not a United States

 District Judge, and consented to pleading before the magistrate

 judge.     This Court had referred the guilty plea to the magistrate

 judge for the purposes of administering the allocution pursuant to

 Federal Rule of Criminal Procedure 11, making a finding as to

 whether    the   plea   was   knowingly   and   voluntarily   entered,   and

 recommending to this Court whether the plea should be accepted.

       Based upon Shuttlesworth’s statements during the plea hearing

 and the testimony of Sergeant Joe Adams, the magistrate judge found

 that Shuttlesworth was competent to enter a plea, that the plea was

 freely and voluntarily given, that she was aware of the nature of
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 the charge against her and the consequences of her plea, and that

 a factual basis existed for the tendered plea. On March 2, 2015,

 the magistrate judge entered an Opinion/Report and Recommendation

 Concerning Plea of Guilty in Felony Case (“R&R”) (dkt. no. 283)

 finding a factual basis for the plea and recommended that this

 Court accept Shuttlesworth’s plea of guilty to Count Twenty-Five of

 the Indictment.

       The magistrate judge also directed the parties to file any

 written objections to the R&R within fourteen (14) days after

 service of the R&R. The magistrate judge further directed that

 failure to file objections would result in a waiver of the right to

 appeal from a judgment of this Court based on the R&R. Following

 which, the parties did not file any objections.

       Accordingly, this Court ADOPTS the magistrate judge’s R&R,

 ACCEPTS Shuttlesworth’s guilty plea, and ADJUGES her GUILTY of the

 crime charged in Count Twenty-Five of the Indictment.

       Pursuant to Fed. R. Crim. P. 11(e)(2) and U.S.S.G. § 6B1.1(c),

 the Court DEFERS acceptance of the proposed plea agreement until it

 has received and reviewed the presentence report prepared in this

 matter.



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         Pursuant to U.S.S.G. § 6A1 et seq., the Court ORDERS as

 follows:

         1.   The   Probation     Officer     undertake      a     presentence

 investigation of TERRI SHUTTLESWORTH, and prepare a presentence

 report for the Court;

         2.   The Government and Shuttlesworth are to provide their

 versions of the offense to the probation officer by March 31, 2015;

         3.   The   presentence     report    is   to   be       disclosed   to

 Shuttlesworth, defense counsel, and the United States on or before

 May 18, 2015; however, the Probation Officer is not to disclose the

 sentencing recommendations made pursuant to Fed. R. Crim. P.

 32(e)(3);

         4.   Counsel may file written objections to the presentence

 report on or before June 1, 2015;

         5.   The Office of Probation shall submit the presentence

 report with addendum to the Court on or before June 15, 2015; and

         6.   Counsel may file any written sentencing statements and

 motions for departure from the Sentencing Guidelines, including the

 factual basis from the statements or motions, on or before June 29,

 2015.


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       The magistrate judge remanded Shuttlesworth to the custody of

 the United States Marshal Service.

       The   Court   will   conduct    the   sentencing   hearing   for   the

 defendant on Friday, July 10, 2015 at 1:30 P.M. at the Clarksburg,

 West Virginia point of holding court.

       It is so ORDERED.

       The Clerk is directed to transmit copies of this Order to

 counsel of record, the defendant and all appropriate agencies.

 DATED: March 17, 2015


                                      /s/ Irene M. Keeley
                                      IRENE M. KEELEY
                                      UNITED STATES DISTRICT JUDGE




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